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                   EXHIBIT 110
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The Keyword    td                            Company News                                                                                                                     M
                                                     ,               Technology



                      ACS




                      Introducing simpler brands and solutions
                      for advertisers and publishers




                                                     We launched AdNto-rls ca y 18 years ago with a simple goal to make it Bas=er for
                                                     people to connect online with businesses. A search for ew it rt 1 v s:ab •erf, quilt

                                                                                                                                           rig
                                                     suaplie: or fora sets co like a reehouse all der gave us an opportunity to deliver
                                                     valuable ads gat were,.se`J and relevant in the moment - -at -deg was the start of our
                      Sr.dir it Rm ,,swamy
                                                     first advertising product. and ed to the ads business we ='eve tocay
                      Senior Vice P'esident. Ads S
                      Commerce                       A lot has changed since then Mobile Is now a huge part of our everyday lives. People
                                                     quickly switch from searching for products, to watching videos, browsing content,
                                                     playing games one more. Asa result, "a'keters have --o'e opportunities to reach
                                                     cocsu="ero across channels. screens and formats. The opporrunty has never been more
                                                     exciting cut =€'s also never been e'ona co"'p-ex Ove. the yea-s, Google acts have evolves
                                                     'nom helping marketers con 'ovt with ;eople on Google Seach to he ping ;"em connect
                                                     at every step o' the consumer journey through text, video. display ant more

                                                     That's why today we are'-uoducing simple' brans and solutions to' our acvtrtising
                                                     products Google Acs, Gcogle Ma•keting Platfo'm, and Google Ad Manager. These new
                                                     brancs will help advert sers and puolishe's of all soot chcose the right solutions for their
                                                     businesses, making it even easir. to' them to celive+ val, ab e. to stwort ,y acs a-'d the
                                                     right expe' ences to' consun-ers across devices and channels As part o` this change- we
                                                     are releasing new sol,,:io^s that help advertsecs t,et stated with Gooc=le Ads and dr=ve
                                                     greater co"aboratw^ ac-oat tea-„s.


                                                     Google AdWords is becoming Google Ads
                                                     Tne new Google Ads brand rep'esents the full range of advert sing capabilities we offer
                                                     today—on Google.com and across our other pramrt=es. partners•tes and apps—to help
                                                     marketers connect with the billions of peep-e finding answers on Search, watching videos
                                                     on VouTs be, explo'=ng 'ow olaces on Goggle Maps, discovering apps on Goggle Play.
                                                     browsing content across t'-e web, ano mere.




                                                                                                                                                                    GOOG-TEX-00001089
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                    For smal ^us -cases spec tica°'y, we'-e introcuc="g a new campaign type in Google Ads
                    :ha: ^'a .es it easie than ever to get started w=th online advert sing =: brings the machine
                    learning technology of Google Ads to s -all b.-smesses a='d ^elps the' get results


                    wdno..t any heavy lifting-so they can stay focused on n.nn •'g the' businesses. °ho learn
                    more,v=s °--,     .

                    We inrocuce more new cempaig- :y es at Google Marketing Jve. 5. ;° .: to wa•cr, the
                    kvesrre?m ee j-uly 10

                    Stronger collaboration with Google
                    Marketing Platform
                    Were enabling stronger collaboration for enterprise marke['^g teams by unifying our
                    D ubleClick advertiser products and the GoogleAnalytics 360 Su le undera single brand:




                    Wdve hoe rd fro- malectccs that there are real benefits to using ads and analytics
                    technology together, including a better understanding of customers and better business
                    results. Google Marketing Platform helps marl,elers a, 'ieve their goals by building on
                    existing'ntegratlons between the Goggle Analyfcs 3' ; s;, i:e and DouhleC"ck Digital
                    Marketing. the platform helps merketers olan, buy.,- eas.a= 'rod cat:-°ce d=gilal media
                    and customer experiences in one place. To learn n       cat t^c               a ng
                    Ptador" bog.

                    As part of Google Marl,et=ng plat'ornt, were announcing Display & Video 360. Disolay &
                    Video 360 brings ogei.'-ei features from DoubleClick Bid Manager Campaign Manager.
                    Stud'o and Audience Cer:er to allow creative, agency, and media teams to collaocrate
                    and execute ad campaigns end-to-end In a single place. Weill share more details about
                    Iksplay & Video 360 in the corn "g weeks, inc ud -g a demo during:he %


                    Google Ad Manager: A unified platform
                    We recogn ze f^at the way oub==shers monetize their content has clanged. With people
                    accessing Co ':0-'; o- mult=ple screens, tine wit- acvertiscrs growing dema=d for
                    programmatic access, publishers need to be nb-c:o manage their bus "coxes more
                    simply an; ?-tic-enty. That's any for the last t"rce years, wive hoe- working to bring
                     oget'or Do. bleCl c for Publishers and Dou'McChck Ad Exchange in a complete and
                    un`ied programmatic platform uncer a new na^-e-Goople Ad Manager.




                    With this evolution, were exc=fed to even nx;rc'o' our partners-earning them more
                                                        cc
                    money, more efficiently, wherever people are watch "g dens, playing games or engaging
                                                                            v
                    with content, and however advertisers are booing to wrxr with them. To learn more, visit


                    Transparency and controls people can trust
                    We know t Oat the media and tec'"no'ogy advertisers and publishers choose to use
                    impacts t-'c re=al'ons'ips they have wi :heir s:o"ens As always. our commitment is
                    to ensure that all o' our products and Hatfo'ms set the i-dustys highest standard in
                    giving people transparency and choice r^ the ads they see. For example, we recently
                    announced new Ar s te.l:- us and exoanded rihv [his ad? across all of our services. and




                                                                                                                                   GOOG-TEX-00001090
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                                           ale-osl a webs es and apps zal amine, wd- us to show ads

                                           you'll start o sec :-e new Google Ads,          =e Marketing P aionn a-d ,ocg=e Ac




                                                                                    Gong
                                           Manage " brands over die next month.

                                           Wall be sharing more about these changes anc many of-er new Ads, Ana'yucs and
                                           Platforms solutions designed to help you grow your bus=ness at Gocg=e Maraehng live
                                           Register nos, to watch live on July 10, 900 a.rn I' / 1203 p.r± El

                                           POSTEDIN: ADS —GOGGLE MARKETING PLATFORM —GOGGLE Al) MANAGER




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